                        UNITED STATES BANKRUPTCY COURT
                             DISTRICT OF NEW MEXICO



  In re:                                        )
                                                )
  Tabitha Allegra Wilson                        )       Case No. 14-12626
                                                )       Chapter 7
                                                )
                                                )
                         Debtor.                )


                               REPORT OF DEBTOR AUDIT

  Pursuant to 28 U.S.C. § 586 (f)(1), the United States Trustee contracted for an audit to be
  performed of the above-captioned debtors' petition, schedules and other information filed
  by the debtor in this case. In accordance with the Debtor Audit Standards established
  pursuant to Section 603 (a) of the Bankruptcy Abuse Prevention and Consumer
  Protection Act of 2005, McBride, Lock & Associates performed the procedures
  enumerated in the contract between ourselves and the United States Trustee Program to
  determine whether certain items in the bankruptcy petition, schedules, and statements as
  originally filed by Tabitha Allegra Wilson in Bankruptcy Case No 14-12626 contain
  material misstatements concerning the debtors’ income, expenditures, or assets.

                                      The auditor finds:
                   No material misstatement                                
                   One or more material misstatements                      
                   the material misstatements are listed on                
                   the attached List of Material Misstatements.            

  The debtor was responsible for the preparation of the bankruptcy petition, schedules, and
  statements in this case. The United States Trustee Program is responsible for the
  sufficiency of the procedures developed to determine the accuracy, veracity, and
  completeness of the petitions, schedules and other information that the debtor is required
  to provide under 11 U.S.C.§§ 521 and 1322. McBride, Lock & Associates make no
  representation regarding the sufficiency of the procedures either for the purpose for
  which this report has been requested or for any other purpose.

  The analysis and findings contained in this report are intended solely for the information
  and of the United States Trustee Program and parties-in-interest in the subject civil
  bankruptcy proceeding and are not intended to be and should not be used by anyone other
  than these parties. However, this report is a matter of public record and its distribution is
  not limited. The Report is not a legal determination, and the legal effect of the auditor’s



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  findings of material misstatement is a question for the Court. Further, the findings
  contained in the report neither require the United States Trustee Program or other related
  parties in interest to take, nor preclude these parties from taking, legal action in or
  relating to this case, including with respect to matters not discussed in this report.

  Respectfully submitted,




  McBride, Lock & Associates
  Certified Public Accountants
  1111 Main Street, Suite 900
  Kansas City, Missouri 64105
  (816) 221-4559


  Dated this 12th day of November, 2014.




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